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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division


                                                              )        Chapter 11
 In re:                                                       )
                                                              )        Case No. 15-32919-KRH
 HEALTH DIAGNOSTIC LABORATORY,                                )
 INC., et al.,                                                )        Jointly Administered
                                                              )
                             Debtors.1                        )
                                                              )

                            SUPPLEMENTAL CERTIFICATE OF SERVICE

        I certify that on February 5, 2025, I also caused a copy of the Liquidating Trustee’s Motion
 for Entry of Order Compelling Fidelity to Liquidate and Turnover Proceeds of Quest 401(k)
 [Docket No. 5984] to be served by regular mail on the following:

 Fidelity Investments                                         Fidelity Workplace Services, LLC
 Attn: Direct Rollovers                                       100 Crosby Parkway
 P.O. Box 770001                                              Mailzone KC1F
 Cincinnati, OH 45277-0037                                    Covington, KY 41015

 Fidelity Workplace Services, LLC                             Fidelity Investments
 P.O. Box 770003                                              P.O. Box 770001
 Cincinnati, OH 45277                                         Cincinnati, OH 45277




 1
  The Debtors in these Bankruptcy Cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: Health Diagnostic Laboratory, Inc. (0119), Central Medical Laboratory, LLC (2728), and Integrated
 Health Leaders, LLC (2434) (the “Debtors”).
  Robert S. Westermann (VSB No. 43294)                   David I. Swan (VSB No. 75632)
  Brittany B. Falabella (VSB No. 80131)                  Allison P. Klena (VSB No. 96400)
  Kollin G. Bender (VSB No. 98912)                       HIRSCHLER FLEISCHER, PC
  HIRSCHLER FLEISCHER, PC                                1676 International Drive
  The Edgeworth Building                                 Suite 1350
  2100 East Cary Street                                  Tysons, Virginia 22102
  Post Office Box 500                                    Telephone: 703.584.8900
  Richmond, Virginia 23218-0500                          Facsimile: 703.584.8901
  Telephone:        804.771.9515                         E-mail:     dswan@hirschlerlaw.com
  Facsimile:        804.644.0957                                     aklena@hirschlerlaw.com
  E-mail: rwestermann@hirschlerlaw.com
           bfalabella@hirschlerlaw.com
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     Counsel for Richard Arrowsmith, Liquidating
     Trustee of the HDL Liquidating Trust
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 Dated: February 6, 2025                 Respectfully submitted,

                                         /s/ Kollin G. Bender
                                         Robert S. Westermann (VSB No. 43294)
                                         Brittany B. Falabella (VSB No. 80131)
                                         Kollin G. Bender (VSB No. 98912)
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                                         Trustee of the HDL Liquidating Trust
